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   Attorneys for Plaintiff
 9 United States of America
10                        UNITED STATES DISTRICT COURT
11                      SOUTHERN DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                     Case No. 22-CR-1152-BAS
13                      Plaintiff,                 NOTICE OF INTENDED
                                                   VOLUNTARY SALE OF
14         v.                                      PROPERTY LOCATED AT
                                                   MOSSEVEIEN 267, 1169 OSLO,
15   KARIM ARABI (1),                              NORWAY (CADASTRAL
     SHEIDA ALAN (2),                              NUMBER 0301/194/188)
16        aka Sheida Arabi,
     SANJIV TANEJA (3), and
17   ALI AKBAR SHOKOUHI (4),
18                      Defendants.
19
20        PLEASE TAKE NOTICE that, a superseding indictment having been returned
21 in the United States District Court for the Southern District of California against
22 Defendants KARIM ARABI (1) (“Karim”) and SHEIDA ALAN, aka SHEIDA
23 ARABI (2) (“Sheida”), which superseding indictment also seeks the forfeiture of
24 Defendants Karim and Sheida’s right, title to, and interest in that real property
25 located at Mosseveien 267, 0252 Oslo, Norway (cadastral number 0301/194/188),
26 and all appurtenances affixed thereto (the “Subject Real Property”);
27        Norwegian authorities, in response to an official request from the United
28 States, have restrained the Subject Real Property to preserve its value and prevent its
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 1 sale, transfer, or other dissipation and ensure its availability for forfeiture under U.S.
 2 law; and
 3         Norwegian authorities, at the request of the nominal owner of the Subject Real
 4 Property, who is not a defendant in this criminal action, now intend to conduct a
 5 voluntary sale of the Subject Real Property, and place the proceeds of the sale
 6 (including any appreciated value of the Subject Real Property since its purchase) in a
 7 Norwegian bank account, pending final resolution of Defendants Karim and Sheida’s
 8 interest in the Subject Real Property in this action.
 9         To the extent practicable, undersigned counsel will cause service of a copy of
10 this notice upon Defendant Sheida via her Canadian counsel, through appropriate
11 Canadian authorities.
12         DATED: December 15, 2022.
13                                          RANDY S. GROSSMAN
                                            United States Attorney
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15
                                            NICHOLAS W. PILCHAK
16                                          Assistant U.S. Attorney
                                            Attorneys for Plaintiff
17                                          United States of America
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